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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION

 United States of America                              Criminal Action No. 6:03-cr-60024-03
                                                                Civil Action No. 6:08-cv-755

 versus                                                             Judge Tucker L. Melançon

 John Paul Anthony                                                    Magistrate Judge Hanna

                         CERTIFICATE AS TO APPEALABILITY

          Before the Court is a Proposed Certificate Of Appealability [Rec. Doc. 278] filed into

 the record of this matter. After considering the record in this case and the requirements of

 28 U.S.C. § 2253, this Court hereby finds that a certificate of appealability is DENIED for

 the following reasons:

          The analysis contained in the Report and Recommendation of the Magistrate Judge

 issued on July 12, 2010 [Rec. Doc. 272] adopted by the Court and entered as a final judgment

 on September 15, 2010 [Rec. Doc. 277], demonstrates that petitioner has failed to

 demonstrate a substantial showing of the denial of a constitutional right.

          Thus done and signed this 21 st day of September, 2010 at Lafayette, Louisiana.
